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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA                           Criminal no. 10-444 (FAB)
  Plaintiff,
                v.

YARET NAVEDO MELENDEZ (8)
  Defendant.

            MOTION IN COMPLIANCE WITH COURT ORDER IN DOCKET ENTRY #5180

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Navedo-Melendez, and respectfully states and prays as

follows:

       1.       The undersigned attorney informs the Court that he has met with Mr. Navedo

MDC-Guaynabo on Wednesday June 5, 2018.

       2.       In that meeting, Mr. Navedo and the undersigned discussed the status of the

above-mentioned matter, along with the status of case number 16-591 (GAG) which is also

pending. The parties also discussed specific discovery matters, along with the status of the on-

going negotiations with the government on both criminal cases.

       3.         Mr. Navedo notified counsel that he wishes to inform the Court that it was his

request that the undersigned continues to represent him in both matters.

       WHEREFORE, the undersigned respectfully requests that the Court takes note of the

present motion.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 11th day of June 2018.

       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.
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